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USDA    United States         Forest       Rocky Mountain Region                      1617Cole Blvd
/._——Department     of        Service                                                 Lakewood, CO 8040]
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         Agriculture                                                                  303—275-5350
                                                                                      Fax: 303-275-5366



                                                               File Code:       6270
                                                                                2019—FS-R2-01443-F

                                                                     Date:          FEB 1 2 2019


        Lilias Jarding, PhD.
        Black Hills Clean Water Alliance
        P.O. Box 591
        RapidCity, SouthDakota 57709

        Dear Dr. Jarding:

        This letter is an acknowledgement and responseto your Freedom of Information Act (FOIA)
        request dated December 7, 2018, and received by the Black Hills National Forest. It was
        referred to the Rocky Mountain Regional Of■ce forresponse. Your request was assigned
        control number 2019-FS—R2-01443—F.   You requested:

                “...any and all agency records created or obtained by the Mvstic District Office or the
               Black Hills National Forest Office that relate to plans ofoperations or notices ofintent
               for exploratory gold drilling in the Mystic District of'the Black Hills National Forest.
               Thesubject matter scope af'this request must be interpreted broadly, and includes but is
               not limited to. thesespecific documents: ”

                   0     All draft or■nal plans of'operations that have beensubmitted to the Forest
                         Service since January I, 2018 involving existing or proposed mines in the Mystic
                         Ranger District


                   0     All draft orfinal plans of operations and/0r notices ofintent referenced in the
                         news article that ran in the Rapid City Journal on November 25, 2018 quoting
                         Black Hills Deputy Forest Supervisor Jerry Krueger con■rming that 'ffour new
                       plans ofoperations for exploratory gold drilling have beensubmitted to the Black
                         Hills National Forest"for_federal public lands located within the Mystic Ranger
                         District. ”


        In response to your request, Forest Service personnel conducted a thorough search for responsive
        electronic and hard copy records. The documents you have requestedare proposals for Plans of
        Operations for Mining Activity on the Black Hills National Forest. None of the documents have
        been approved. We are withholding all of the documents in whole under Exemption 4 of the
        FOIA.



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     Lilias Jarding,PhD.                                                                            2




     Exemption 4 protects commercial or ■nancial information, privileged or con■dential, that is
     obtained from a person. 5 U.S.C. 552(b)(4). This exemption ensuresthat agencieswill
     continually be able to obtain necessarycommercial and ■nancial information from outside the
     Government and that they will be able to perform their statutory responsibilities ef■ciently and
     effectively. It also protects those who submit such information to the Government from the
     competitive disadvantagesthat could result from disclosure. Becausethesedocuments are
     proposals and have not yet been approved, we believe they must be withheld under Exemption 4.

     This concludes our responseto your FOIA request; however, the FOIA provides you the right to
     appeal this response. Any appeal must be made in writing, within 90 days from the date of this
     letter, to the Chief, USDA, Forest Service: 1) by email to wo_foia@fs.fed.us; 2) by regular mail
     to Mail Stop 1143, 1400IndependenceAvenue SW, Washington, DC 20250-1143; 3) by Fed Ex
     or UPS to 201 141hStreet SW, Washington, DC 20250—1        143and telephone 202-205—1542.The
     term “FOIA APPEAL” should be placed in capital letters on the subject line of the email or on
     the front of the envelope. To facilitate the processing of your appeal,pleaseinclude a copy of
     this letter and/or the FOIA casenumber assignedto your request 2019-FS-R2-01443-«F.

     If you need any further assistanceor would like to discuss any aspectof your request, please do
     not hesitate to contact the FOIA Public Liaison at 202-205-1542. Additionally, you may contact
     the Of■ce of Government Information Services(OGIS) National Archives and Records
     Administration to inquire about the FOIA mediation servicesthey offer. The contact information
     for OGIS is as follows:   Of■ce of Goverrunent [nfonnation   Services, National Archives and
     Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740—6001,
                                                                                      email
     at ogis@nara.gov; telephone at 202-741-5770: toll free at 1-877—684—6448.

     Sincerely,




     BRIAN FEREBEE
     Regional Forester

     cc: Mark E. Van Every, Kelly Honors, Misty DeSalvo




                                                                                       Sloan Decl. Exhibit B
